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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

TODD SMITH,

      Plaintiff,

v.                                                  Case No: 8:20-cv-2936-CEH-CPT

AUTOMATIC DATA PROCESSING,
INC., et al.,

      Defendants.
___________________________________/

                                      ORDER

      This cause comes before the Court on the Court’s Order to Show Cause, entered

on June 30, 2021 (Doc. 64), in which the Court directed Defendants to show cause

why this action should not be remanded for lack of subject matter jurisdiction. On July

14, 2021, Defendants filed Responses (Docs. 66, 67) to the Order to Show Cause.

Upon review of Defendants’ Responses, the Court finds that jurisdiction has been

sufficiently established. Accordingly, the Court will take no further action on the

Order to Show Cause and it is DISCHARGED.

      DONE AND ORDERED in Tampa, Florida on September 13, 2021.




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